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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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        URIBE-SOLIS,                        )                 CV 03-5535 AWI
11                                          )                 CR 00-5441 AWI
                          Petitioner,       )
12                                          )                 ORDER DENYING
              v.                            )                 PETITIONER’S SUCCESSIVE
13                                          )                 § 2255 PETITION
        UNITED STATES OF AMERICA,           )
14                                          )                 (Doc. Nos. 209 and 212)
                          Respondent.       )
15      ____________________________________)
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18          On May 18, 2004, the court entered an order denying Petitioner Jose Manuel Uribe-Solis’
19   (“Petitioner”) application for a writ of habeas corpus pursuant to 28 U.S.C. § 2255 that
20   challenged Petitioner’s conviction on the grounds of ineffective assistance of counsel. In the
21   May 18, 2004 order, the court held that Petitioner’s trial counsel was not ineffective for failing to
22   refute the factual assertion contained in Petitioner’s Presentence Report that Petitioner “was a
23   manager or supervisor in the present offense.” The court also held that Petitioner’s counsel was
24   not ineffective for failing to investigate the validity of Petitioner’s four prior convictions. The
25   court also noted the benefits of the plea bargain conferred upon Petitioner, including a
26   recommendation to reduce the overall sentence (for acceptance of responsibility), the dismissal
27   of five other charged offenses, and a recommendation for a sentence in the low-end of the range.
28          On June 7, 2004, Petitioner filed a Request for a Certificate of Appealability, or in the
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 1   Alternative, for Reconsideration of the court’s May 18, 2004 order. On September 11, 2009, the
 2   court denied Petitioner’s Request for a Certificate of Appealability and Motion for
 3   Reconsideration. The motion pending before the court was filed on March 2, 2009, and is
 4   entitled as a “Motion to Invalidate a Conviction Pursuant to Sentencing Guidelines §4A1.2 Note
 5   6.”1
 6                                           Petitioner’s Argument
 7           Petitioner moves to vacate his sentence based on the allegation that he suffered
 8   ineffective assistance of counsel because his defense counsel David Balakian (“Balakian”) failed
 9   to file a direct appeal and because Balakian failed to demonstrate to the court in Petitioners’
10   April 29, 2003 §2255 petition how Petitioner was prejudiced by his prior counsel, Thomas
11   Richardson’s (“Richardson”), advice.
12                                                 Discussion
13           Although Petitioner styles his motion as a “Motion to Invalidate a Conviction Pursuant to
14   Sentencing Guidelines §4A1.2 Note 6", the court construes this motion as a successive habeas
15   petition pursuant to §2255 because his motion seeks to revisit this Court’s denial on the merits of
16   his claim for relief. See United States v. Hiralal, 238 Fed. Appx. 225, 226 (9th Cir. 2007) (citing
17   to Gonzalez v. Crosby, 545 U.S. 524, 531-32 (2005)). As such, Plaintiff’s instant claim for relief
18   pursuant to Sentencing Guidelines §4A1.2 Note 6 must be construed as a claim for successive
19   habeas relief. “Congress has established mandatory, jurisdictional procedures a petitioner must
20   follow in appealing from a district court’s denial of relief under § 2255. [A petitioner] cannot
21   avoid these jurisdictional limitations by styling his motion under another name.” United States v.
22   Christensen, 119 Fed. Appx. 884, 887 (9th Cir. 2004) (denying Rule 60(b) motion where
23   Petitioner did not obtain a certificate of appealability).
24           The fact that Petitioner alleges different facts from his original §2255 petition does not
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            Sentencing Guidelines §4A1.2 provides definitions and instructions for computing a
27   defendant’s criminal history.

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 1   change the character of this motion. See United States v. Allen, 157 F.3d 661, 664 (9th Cir.
 2   1998); cf. Gonzalez, 545 U.S. at 532. Petitioner does not allege, and the court can find no
 3   evidence, that Petitioner has sought, or that the appellate court has granted, any order authorizing
 4   this court to give consideration to Petitioner’s successive habeas petition. The court must
 5   therefore conclude it lacks jurisdiction to consider Petitioner’s request for relief. See 28 U.S.C.
 6   §§ 2244(b)(3); 2255 (h); Hiralal, 238 Fed. Appx. at 225; United States v. Leasure, 223 Fed.
 7   Appx. 630, 630-31 (9th Cir. 2007); Allen, 157 F.3d 661 at 664. The court must deny Petitioner’s
 8   motion.
 9                                                 ORDER
10          Accordingly, IT IS HEREBY ORDERED that Petitioner’s motion is DENIED for the
11   reasons discussed above.
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13   IT IS SO ORDERED.
14   Dated:     February 2, 2010                       /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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